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          ORDERED in the Southern District of Florida on September 6, 2024.




                                                 Robert A. Mark, Judge
_____________________________________________________________________________
                                                 United States Bankruptcy Court




                                     UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF FLORIDA

           In re:    Oatny Borges                                            Case No.: 23-16316-RAM
                                                                             Chapter 13
                             Debtor(s)                      /

           ORDER SUSTAINING DEBTOR’S OBJECTION TO CLAIM OF ACAR LEASING LTD D/B/A
                                  GM FINANCIAL LEASING

                  This matter having been considered without hearing upon the Debtor's Objection to Claim[s] of
          ACAR Leasing LTD d/b/a GM Financial Leasing [DE #_75___], and the objector by submitting this form
          order having represented that the objection was served on the parties listed below, that the 30-day
          response time provided by Local Rule 3007-1(D) has expired, that no one listed below has filed, or served
          on the objector, a response to the objection, and that the relief to be granted in this order is the identical
          relief requested in the objection, and this court having considered the basis for the objection to the claim,
          it is

          ORDERED that Debtor's objection to the following claim is sustained:

              Claim No.                      Name of Claimant / Creditor
              3                              ACAR Leasing LTD d/b/a GM Financial
                                             Leasing

          Disposition: The claim is allowed as filed with no distribution from the Chapter 13 Trustee.

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        Respectfully Submitted:
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        Jose A. Blanco, P.A shall serve a copy of the signed order on all required parties and file with the court a certificate
        of service conforming with Local Rule 2002-1(F).




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